     Case 2:19-cv-02130-JAD-EJY Document 13 Filed 11/08/21 Page 1 of 2




 1                                 UNITED STATES DISTRICT COURT
 2                                        DISTRICT OF NEVADA
 3                                                   ***
 4   FRANCISCO VIDAL, KHLOE VIDAL,                              Case No.: 2:19-cv-02130-JAD-EJY
     JAMES NESKE, and SANDRA SCHORAS,
 5
                     Plaintiff,                                               ORDER
 6
             v.
 7
     INTERNAL AFFAIRS LVMPD, OFFICER E.
 8   CLINE, OFFICER ROWE, OFFICER
     ROHAN, JOE LOMBARDO, OFFICER
 9   TURNER, OFFICER DIAZ, OFFICER
     POUPARD, and SGT. LUECK,
10
                     Defendants.
11

12          According to the Nevada Department of Corrections (“NDOC”) inmate database, Plaintiff is
13   no longer incarcerated. However, Plaintiff has not filed an updated address with this Court. The
14   Court notes that pursuant to Nevada Local Rule of Practice IA 3-1, a “pro se party must immediately
15   file with the court written notification of any change of mailing address, email address, telephone
16   number, or facsimile number. The notification must include proof of service on each opposing party
17   or the party’s attorney. Failure to comply with this rule may result in the dismissal of the action,
18   entry of default judgment, or other sanctions as deemed appropriate by the court.” Nev. Loc. R. IA
19   3-1. The Court grants Plaintiff thirty (30) days from the date of entry of this Order to file his updated
20   address with this Court. If Plaintiff does not update the Court with his current address within thirty
21   (30) days from the date of entry of this Order, the Court will recommend dismissal of this action
22   without prejudice.
23          In addition, the Court denies Plaintiff’s application to proceed in forma pauperis for prisoners
24   (ECF No. 5) as moot because Plaintiff is no longer incarcerated. The Court directs Plaintiff to file
25   an application to proceed in forma pauperis by a non-prisoner or pay the full filing fee of $402 within
26   thirty (30) days from the date of this Order.
27          For the foregoing reasons, IT IS HEREBY ORDERED that Plaintiff must file his updated
28   address with the Court within thirty (30) days from the date of this order.
                                                       1
     Case 2:19-cv-02130-JAD-EJY Document 13 Filed 11/08/21 Page 2 of 2




 1           IT IS FURTHER ORDERED that Plaintiff’s application to proceed in forma pauperis for

 2   prisoners (ECF No. 5) is DENIED as moot.

 3           IT IS FURTHER ORDERED that the Clerk of the Court must send Plaintiff the approved

 4   form application to proceed in forma pauperis by a non-prisoner, as well as the document entitled

 5   information and instructions for filing an in forma pauperis application.

 6           IT IS FURTHER ORDERED that within thirty (30) days from the date of this order, Plaintiff

 7   must either file a fully complete application to proceed in forma pauperis for non-prisoners or pay

 8   the full filing fee of $400.

 9           IT IS FURTHER ORDERED that if Plaintiff fails to timely comply with this Order the Court

10   will recommend dismissal of this case without prejudice.

11           Dated this 8th day of November, 2021.

12

13
                                                  ELAYNA J. YOUCHAH
14                                                UNITED STATES MAGISTRATE JUDGE
15

16

17

18
19

20

21

22

23

24

25

26

27

28
                                                      2
